Case 1:22-cr-00060-LEK Document 188 Filed 07/11/23 Page 1 of 3          PageID.606




                IN THE UNITED STATES DISTRICT COURT
                      FOR THE DISTRICT OF HAWAII


UNITED STATES OF AMERICA,                 )   CR. NO. 22-00060 LEK
                                          )
                    Plaintiff,            )
                                          )   CRIMINAL SCHEDULING ORDER
vs.                                       )
                                          )
                                          )
WALTER GLENN PRIMROSE,              (01) )
  aka, “Bobby Edward Fort”                )
                                          )
GWYNN DARLE MORRISON,               (02) ))
  aka, “Julie Lyn Montague”               )
                                          )
                    Defendant.


                     CRIMINAL SCHEDULING ORDER

      Pursuant to Criminal Local Rule 2.1 and the Order Granting Defendant

Motion to Continue Trial, ECF No. 173, IT IS HEREBY ORDERED:

      (1)   The jury selection and trial are set for October 23, 2023, at 9:00 a.m.

before United States District Judge Leslie E. Kobayashi.

      (2)   A trial conference is set for September 5, 2023, at 1:30 p.m.

      (3)   Motions, other than motions in limine, are due on September 11,

2023, and responses are due on September 18, 2023.

      (4)   When so requested by either the United States or a defendant pursuant

to Fed. R. Crim. P. 16(a)(1)(G)(i) and 16(b)(1)(C)(i), the party(s) must make expert
Case 1:22-cr-00060-LEK Document 188 Filed 07/11/23 Page 2 of 3            PageID.607




witness disclosures in accordance with the requirements of Fed. R. Crim.

16(a)(1)(G) and Fed. R. Crim. P. 16(b)(1)(C), at the time(s) and in the sequence as

ordered by the Court. Absent a stipulation or court order, the time to disclose

expert witnesses is as follows:

             a.     On or before September 8, 2023.

             b.     If the evidence is intended solely to contradict or rebut evidence

      on the same subject matter identified by another party under Fed. R. Crim. P.

      16(a)(1)(G) or 16(b)(1)(C), on or before October 8, 2023.

      (5)    The United States shall file on or before September 18, 2023, a notice

in writing of its intent to use other acts evidence pursuant to Federal Rule of

Evidence 404(b).

      (6)    Motions in limine are due on October 2, 2023, and oppositions are due

on October 9, 2023.

      (7)    Exhibit lists shall be filed on or before October 2, 2023.

      (8)    The parties shall meet and confer and file Stipulations to the

Authenticity/Admissibility of Proposed Exhibits on or before October 2, 2023.

      (9)    Witness lists shall be filed on or before October 2, 2023.

      (10) The parties shall meet and confer and file Joint Jury Instructions, in

accordance with Fed. R. Crim. P. 30 and District of Hawaii Local Rule 51.1, on or

before October 9, 2023.

                                          2
Case 1:22-cr-00060-LEK Document 188 Filed 07/11/23 Page 3 of 3         PageID.608




      (11) A joint trial presentation statement is due August 28, 2023.

      (12) Trial briefs shall be filed on or before October 9, 2023.

      (13) The parties are to exchange exhibits and demonstrative aids by on or

before October 20, 2023.

      (14) The parties are to provide the Courtroom Manager with exhibits

(original and two copies) by on or before October 19, 2023.

      IT IS SO ORDERED.

      DATED: Honolulu, Hawaiʻi, July 11, 2023.




CRIMINAL SCHEDULING ORDER
United States v.Walter Glann Primrose et al.; Cr. No. 22-00060 LEK

                                          3
